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         In the United States Court of Federal Claims
                                         No. 15-554
                                   Filed: August 16, 2019

                                              )
 PARK PROPERTIES ASSOCIATES,                  )
 L.P. et al.,                                 )
                                              )
                   Plaintiffs,                )
                                              )
 v.                                           )
                                              )
 THE UNITED STATES,                           )
                                              )
                   Defendant.                 )
                                              )

                                            ORDER

        On September 26, 2016, the Court issued an opinion in this case, denying defendant’s
Motion to Dismiss and granting plaintiffs’ Motion for Summary Judgment. On May 2, 2017, the
Court issued an order on damages, and, on May 25, 2017, the Court denied plaintiffs’ Motion to
Alter or Amend Judgment. In July of 2017, the government appealed the Court’s decision to the
U.S. Court of Appeals for the Federal Circuit (“Federal Circuit”), and the plaintiffs initiated a
cross-appeal of the same. In a decision issued on February 19, 2019, the Federal Circuit
reversed-in-part and vacated-in-part this Court’s decision and remanded the case “for entry of
judgment consistent with [the Federal Circuit] opinion.” Decision of the Court of Appeals for
the Federal Circuit, ECF–63 at 15. The Court received the Federal Circuit’s Mandate on June 6,
2019.

       Pursuant to the reasons set forth in the Federal Circuit’s February 19, 2019 Decision,
defendant’s MOTION to Dismiss is hereby GRANTED. Plaintiffs’ MOTION for Summary
Judgment is hereby DENIED. The Clerk of Court is directed to enter judgment in favor of
defendant.

       IT IS SO ORDERED.


                                                  s/   Loren A. Smith
                                                  Loren A. Smith,
                                                  Senior Judge
